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AUSTIN KNUDSEN
Montana Attorney General
KRISTIN HANSEN
 Lieutenant General
DAVID M.S. DEWHIRST
 Solicitor General
BRENT MEAD
 Assistant Solicitor General
ALWIN LANSING
 Assistant Attorney General
215 North Sanders
P.O. Box 201401
Helena, MT 59620-1401
Phone: 406-444-2026
Fax: 406-444-3549
david.dewhirst@mt.gov
brent.mead2@mt.gov
alwyn.lansing@mt.gov

Attorneys for Defendants

                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                     MISSOULA DIVISION
Montana Democratic Party, Mon-        CV-21-119-M-DWM
tanans for Tester, Macee Patritti,

           Plaintiffs,                DEFENDANTS’ BRIEF IN
                                      SUPPORT OF MOTION TO
      v.
                                      DISMISS PURSUANT TO
Christi Jacobsen, in her official     FED. R. CIV. P. 12(b)(4)
capacity as Montana Secretary of      and (5)
State, Jeffrey Mangan, in his offi-
cial capacity as Montana
Commissioner of Political Prac-
tices,

           Defendants.
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        Defendants Christi Jacobsen and Jeffrey Mangan, in their official

capacities (collectively, the “State”), appear for the limited purpose of

moving to dismiss the complaint under Fed. R. Civ. P. 12(b)(4) and (5) for

insufficient process and service of process. 1

        Failure to properly serve the defendants under Rule 4 strips the

court of jurisdiction. See Direct Mail Specialists, Inc. v. Eclat Computer-

ized Technologies, Inc., 840 F.2d 685, 688 (9th Cir. 1988). Defendants

may “challenge irregularities in the contents of the summons (Rule

12(b)(4)) and irregularities in the manner of delivery of the summons and

complaint (Rule 12(b)(5)).” Chilicky v. Schweiker, 796 F.2d 1131, 1136

(9th Cir. 1986). Defendants must be served in compliance with Rule 4 to

give them adequate notice and grant the court personal jurisdiction over

them. See Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344, 350

(1999) (“Service of process, under longstanding tradition in our system of

justice, is fundamental to any procedural imposition on a named



1 The State filed a concurrent Notice of Limited Appearance for the sole purpose of
this motion to dismiss. Due to Plaintiffs’ defective service, the State has not yet ap-
peared in this case. The State therefore contends that it is exempted from the
requirement in the local rules requiring it to—after appearing in a case—contact
Plaintiffs and solicit their position on a motion such as this. See Local Rule 7.1(c)(1).
The State understands, however, that Plaintiffs and their counsel will be notified of
this motion instantaneously through the Court’s electronic filing system.


DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(4) AND (5)| 2
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defendant.”). “Mere notice that a lawsuit is pending is not sufficient.”

Razavi v. Regis Corp., 2016 WL 97438, 4 (N.D. Cal. 2016) (citing Omni

Capital Int'l, Ltd. v. Rudolf Wolff & Co., Ltd., 484 U.S. 97, 104 (1987)).

Plaintiffs must serve a copy of the complaint with the summons. Fed. R.

Civ. P. 4(c). Absent defendants’ agreement to waive service, Rule 4’s

strictures remain “the sine qua non directing an individual or entity to

participate in a civil action ….” Michetti Pipe Stringing, 526 U.S. at 351.

Of course, Rule 4(c)’s requirement that plaintiffs serve a summons and

copy of the complaint inherently requires that the complaint be legible

and complete. And it is here where Plaintiffs failed to comply with Rule

4(c).

        Plaintiffs here have not come before the Court pro se. To the con-

trary, they are represented by nationally recognized attorneys who long

ago cemented their hard-fought reputations by boldly pressing the outer

boundaries of advocacy on behalf of their clients. So any special consid-

erations the State or this Court might afford to pro se plaintiffs do not

apply. Plaintiffs here ran afoul of Rule 4 by providing defective copies of

the complaint to Defendants. Significant portions of these complaint cop-

ies were totally unreadable due to poor printing quality. See McLaughlin



DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(4) AND (5)| 3
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Affidavit, Exhibit 1 (portions of the complaint are bleached out and un-

readable); see also Mangan Affidavit, Exhibit 2. 2

        But there’s more; well, actually there’s less. The complaint served

on the State (via the Attorney General) is a complaint in its purest form.

See Standish Affidavit, Exhibit 3. It only complains. This copy includes

only 16 pages of the complaint and—from what is legible—contains no

claims for relief at all. Setting aside Plaintiffs’ unquestioned right to pe-

tition government for the redress of grievances, see De Jonge v. Oregon,

299 U.S. 353, 365, 57 S. Ct. 255, 260 (1937), the State cannot be forced

into court if the plaintiffs don’t explain why and how those grievances

can be redressed.

        From press reports, it appears that Plaintiffs make sweeping accu-

sations about supposed assaults on the State’s democratic institutions. 3

Though understandably skeptical, the State would like to read more.




2Courts may consider evidence outside the pleadings, such as affidavits, depositions,
and oral testimony, in resolving a Rule 12(b)(5) motion. Fairbank v. Underwood, 986
F. Supp. 2d 1222, 1228 (D. Or. 2013); accord Galilea v. Pantaenius Am., 2020 WL
9188643, 8 (D. Mont. Sept. 25, 2020).
3See Alex Sakariassen, Democrats challenge law restricting campus political activity,
Montana Free Press (Oct. 12, 2021). Notably, given that the media quotes extensively
from the complaint, the Plaintiffs apparently provided complete, legible, copies of
their complaint to the press.


DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(4) AND (5)| 4
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That, unfortunately, is impossible due to the illegible and incomplete ser-

vice copies of the complaint. As the Court well knows, our democracy

depends on the robust adherence to the rule of law. And the rule of law

is jeopardized when the State is unable to defend attacks on its demo-

cratically enacted laws. Such is the case with defective service; such is

the case here. The State cannot be forced to defend a challenge it must

first decode. This is a civil action, not a Dan Brown novel.

        For the aforementioned reasons, the State respectfully requests

that the Court dismiss this case pursuant to Fed. R. Civ. P. 12(b)(4) and

(b)(5).

        DATED this 3rd day of November, 2021.

                                                  AUSTIN KNUDSEN
                                                  Montana Attorney General
                                                  KRISTIN HANSEN
                                                   Lieutenant General
                                                  DAVID M.S. DEWHIRST
                                                   Solicitor General
                                                  /s/ Brent Mead
                                                  BRENT MEAD
                                                   Assistant Solicitor General
                                                  215 North Sanders
                                                  P.O. Box 201401
                                                  Helena, MT 59620-1401
                                                  p. 406.444.2026
                                                  brent.mead2@mt.gov
                                                  Attorney for Defendant

DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(4) AND (5)| 5
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this date, an accurate copy of the foregoing

document was served electronically through the Court’s CM/ECF sys-

tem on registered counsel.

Dated:       November 3, 2021                              /s/ Brent Mead
                                                           BRENT MEAD




DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(4) AND (5)| 6
